     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 1 of 36 Page ID #:1




 1
     REESE, LLP                              LEVIN, PAPANTONIO, THOMAS,
 2   Michael R. Reese (Cal. Bar 206773)      MITCHELL, RAFFERTY & PROCTOR, PA
     mreese@reesellp.com                     Matthew D. Schultz
 3
     Sue J. Nam (Cal. Bar 206729)            mschultz@levinlaw.com
 4   snam@reesellp.com                       Brenton Goodman
 5
     100 West 93rd Street, 16th Floor        bgoodman@levinlaw.com
     New York, New York 10025                316 S. Baylen St., Suite 600
 6
     Telephone: (212) 643-0500               Pensacola, FL 32502
 7   Facsimile: (212) 253-4272               Telephone: (850) 435-7140
                                             Facsimile: (850) 436-6140
 8
     REESE LLP
 9   George V. Granade (Cal. Bar 316050)
10
     ggranade@reesellp.com
     8484 Wilshire Boulevard, Suite 515
11   Los Angeles, California 90211
     Telephone: (212) 643-0500
12
     Facsimile: (2120 253-4272
13
     Counsel for Plaintiff & the Proposed Class & Subclass
14
                             UNITED STATES DISTRICT COURT
15
                           CENTRAL DISTRICT OF CALIFORNIA
16

17    SHELLEY PRIDGEN, on behalf of              Case No. 19-cv-1683
18
      herself and all others similarly situated,

19                      Plaintiffs,             CLASS ACTION COMPLAINT
20
            v.                                  JURY TRIAL DEMANDED
21

22    CHURCH & DWIGHT CO., INC..,
23
                        Defendant.
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                                      CLASS ACTION COMPLAINT - 1
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 2 of 36 Page ID #:2




 1         Plaintiff Shelley Pridgen, individually and on behalf of all others similarly situated
 2   (“the Class”), brings this Class Action Complaint against Defendant Church & Dwight
 3   Co., Inc. (“C&D” or “Defendant”) based upon C&D’s misrepresentations to consumers
 4   concerning the number of loads that a container of its OxiClean stain remover is capable
 5   of treating. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332.
 6                                 INTRODUCTORY FACTS
 7         1. This is a class action on behalf of purchasers of Defendant C&D’s OxiClean
 8   powdered “stain remover” line of products (“OxiClean” or “the Products”), for which
 9   Defendant makes unsubstantiated and inaccurate claims—both in advertising and on the
10   Products’ labels and packaging—that would mislead and have in fact misled reasonable
11   consumers into purchasing and using the Products.
12         2. As described below, C&D’s OxiClean line of products is extremely lucrative
13   and is growing. It is central to C&D’s business.
14         3. C&D has reaped substantial profits a few dollars at a time based upon its
15   deceptive marketing of the Products. This case exemplifies why the class action
16   procedure was adopted.
17         4. In short, C&D manufactures, markets and sells OxiClean, which includes a
18   variety of products (e.g., liquid detergents, stain sticks, spray products, and such). This
19   action pertains specifically to C&D’s misrepresentations concerning its OxiClean
20   powdered stain removers.
21         5. Although OxiClean powdered stain removers come in several styles, each style
22   is substantially similar to the others in form and in function and all are sold in
23   substantially similar packages making similar claims and including similar instructions,
24   as can be seen in the Appendix to this Complaint identifying various styles.
25         6. The omissions and misrepresentations identified in this Complaint are virtually
26   identical across all sizes and styles of OxiClean stain removers and the claims that form
27   the basis of this action would be the same in all essential respects regardless of which
28   style of the Products is considered. That is to say, whether one considers the “Versatile”




                                       CLASS ACTION COMPLAINT - 2
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 3 of 36 Page ID #:3




 1   style or the “White Revive” style, or any other, the Products are substantially similar and
 2   the method of deception is the same.
 3         7. The nature of the deception is simple: C&D prominently displays in its
 4   marketing for all styles, and on the packaging for all styles, the number of laundry loads
 5   one may expect to treat from a container of OxiClean powdered “stain remover,” e.g.,
 6   290 loads, 156 loads, 75 loads, etc.
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                                      CLASS ACTION COMPLAINT - 3
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 4 of 36 Page ID #:4




 1         8. But the Products are not capable of removing even “typical stains” for the
 2   advertised number of loads.
 3         9. There is no indication on the front or back panel that the Products do not treat
 4   the advertised number of loads when filling the enclosed scoop to Line 2 (or 3 or 4).
 5
     Indeed, because the Products are “stain removers,” reasonable consumers would believe
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     they could remove stains for the advertised number of loads when filling the scoop to
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     Line 1. But the Products will not, in fact, remove “typical stains” for the advertised
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     number of loads.
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           10. Below is the front panel of OxiClean Versatile Stain Remover (3 lb.), which
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     prominently declares that it treats 65 loads. Following that is an image of the side panel
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     of the same product with a well-hidden disclaimer regarding the 65-load claim.
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                                       CLASS ACTION COMPLAINT - 4
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 5 of 36 Page ID #:5




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            11. It is difficult to find, if not pointed out, but buried at the bottom of the side
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     panel, beneath the directions for use, beneath the warning, and beneath Defendant’s
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     contact information, in the last two lines, is the statement: “Delivers 65 regular loads/uses
19
     when measuring to line 1 on scoop.”
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            12. It is not clear what “delivering” a load means; but if it is intended to mean
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     “treating” a load, it is a suspiciously ambiguous phrasing and that interpretation is belied
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     by the back panel instruction that, in order to treat “typical stains,” one must fill the scoop
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     to at least Line 2:
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                                        CLASS ACTION COMPLAINT - 5
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 6 of 36 Page ID #:6




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 2          13. In other words, to achieve the “stain removing” benefit of this stain remover,
 3   one must use more than the Line 1 amount on the scoop; or, said differently, one can treat
 4   only a fraction of the advertised number of loads for “typical stains,” while heavier stains
 5   require even more powder, thus further reducing the load capacity of the Product. 1
 6          14. These ambiguities are no accident; they form a pattern of deception—
 7   prominently claiming on the front of the package to treat a certain number of loads while
 8   burying a microscopic, ambiguously worded disclaimer on the side panel. The
 9   deception’s form and substance are substantively identical for all styles and sizes of the
10   Products.
11          15. Even in the context of legally binding contracts, reasonable consumers
12   typically do not “read all of the terms of the standardized agreements that they encounter
13   in daily life,” as it is “neither practical nor efficient for them to read all of their contracts
14   thoroughly.”2
15          16. Similarly, fewer than one-third of consumers “frequently” read the Nutritional
16   Panel on the food products they buy to feed themselves and their families.3
17          17. Even fewer reasonable consumers read every inch of every consumer product
18   package they make a purchase; and empirical research bears this out: “Rather than long
19   explorations, deliberations and acts of choice, consumers are more likely to reach their
20

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22   1
       Importantly OxiClean powdered stain remover “is not a laundry detergent.” (https://
23   www.oxiclean.com/en/AllProducts/Stain-Fighters/Products/OxiClean-Versatile-Stain-
     Remover). So it is unclear what it would mean to “deliver” an “ordinary load” filling the scoop
24
     to Line 1 when “typical stains” require filling it to Line 2. But the advertised number of loads,
25   per the microscopic disclaimer, are “ordinary loads,” not loads of stained clothing.
     2
26     Furth-Matzkin, Fool Me Once, Shame on Me: How Consumers and Lawyers Perceive the Fine
     Print in Deception Cases, Discussion Paper No. 82 at 1, 7 (Harvard Law School, June 2018)
27   (http://www.law.harvard.edu/programs/olin_center/fellows_papers/pdf/ Furth_82.pdf).
     3
28     Cristoph, et al., Nutrition Facts Panels: Who Uses Them, What Do They Use, and How Does
     Use Relate to Dietary Intake, J. Academy of Nutrition & Dietetics, 118:2 at 217-228 (Feb. 2018).



                                         CLASS ACTION COMPLAINT - 6
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 7 of 36 Page ID #:7




 1   decisions within a few seconds.”4 Ninety percent (90%) of consumers make a purchase
 2   “only having examined the front of the product.”5
 3            18. Reasonable consumers routinely accept prominent front-of-packaging claims at
 4   face value and should not be expected to assume they are being deceived; it would be
 5   unreasonable to expect or demand that consumers pore over each product package to root
 6   out fine-print “disclaimers” that contradict selling points prominently displayed on the
 7   front of the package. Rather, consumers reasonably expect other package information to
 8   be consistent with the representations made on the front of the package.
 9            19. All or a significant proportion of consumers acting reasonably under the
10   circumstances would conclude that a “stain remover” prominently claiming to treat a
11   designated number of laundry loads would in fact effectively remove stains from the
12   number of loads represented on the front of the packaging. OxiClean powdered stain
13   removers, contrary to Defendant’s representations, fail to do so.
14            20. Damages are warranted to make C&D’s consumers whole and to ensure that
15   clever marketing does not reap C&D unwarranted economic gain—which either
16   disadvantages competitors who play by the rules or incentivizes them to deceive
17   consumers, as C&D has, in order to compete.
18                                             PARTIES
19            21. Plaintiff Shelley Pridgen is and was at all relevant times a citizen and
20   domiciliary of Santa Ana, California, which is located in this District and Division.
21            22. Defendant Church & Dwight Co., Inc., is a Delaware for-profit corporation
22   with its principal place of business in Ewing, New Jersey. It may be served with process
23   through its registered agent: The Corporation Trust Company, Corporation Trust Center,
24   1209 Orange St., Wilmington, DE 19801.
25

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     4
      J. Clement et al., Understanding consumers’ in-store visual perception: The influence of
27   package design features on visual attention, J. of Retailing & Consumer Servs. 20 (2013) 234-
28   239 at 234.
     5
         Id. at 235 (emphasis added).



                                         CLASS ACTION COMPLAINT - 7
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 8 of 36 Page ID #:8




 1                                       JURISDICTION
 2          Personal Jurisdiction
 3          23. This Court has specific personal jurisdiction over Defendant C&D because this
 4   action arises out of and relates to C&D’s contacts with this forum.
 5          24. Defendant is registered to do business in the State of California and engages in
 6   business within the state and within this District. C&D directed the Products through the
 7   stream of commerce into this District. C&D has advertised and marketed within this
 8   District through sales representatives, through the wires and mails, and via e-commerce
 9   websites through which residents of this state and District can purchase the Products.
10          25. As depicted below, C&D’s website www.oxiclean.com/en is directed to
11   consumers in this District and includes a “where to buy” feature that points consumers in
12   this District to local OxiClean retailers based on zip code:
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22          26. Thus, C&D knowingly directs electronic activity into this state and District
23   with the intent to engage in business interactions and it has in fact engaged in such
24   interactions.
25          27. C&D sold the Products to retailers in this District for the purpose of making
26   them available for purchase by consumers, including Plaintiff, in this District.
27          28. Plaintiff’s losses and those of other Class members were incurred in this
28   District.




                                       CLASS ACTION COMPLAINT - 8
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 9 of 36 Page ID #:9




 1          Subject Matter Jurisdiction
 2          29. This Court has original subject matter jurisdiction over this action pursuant to
 3   CAFA, Pub. L. 109-2, 119 Stat. 4 (codified in scattered sections of Title 28 of the United
 4   States Code), under 28 U.S.C. § 1332(d), which provides for the original jurisdiction of
 5   the federal district courts over “any civil action in which the matter in controversy
 6   exceeds the sum or value of $5,000,000, exclusive of interest and costs, and [that] is a
 7   class action in which . . . any member of a class of plaintiffs is a citizen of a State
 8   different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).
 9          30. Plaintiff is diverse from Defendant and Plaintiff seeks to represent other Class
10   members who are diverse from Defendant.
11          31. The matter in controversy exceeds $5,000,000.00 in the aggregate, exclusive of
12   interest and costs and the “number of members of all proposed plaintiff classes in the
13   aggregate” is greater than 100. See 28 U.S.C. § 1332(d)(5)(B).
14          Venue
15          32. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part
16   of the events or omissions giving rise to Plaintiff’s claims occurred within this District.
17          33. Defendant caused the Products to be offered for sale and sold to the public,
18   including Plaintiff, in this District. Plaintiff purchased the Products in this District and
19   incurred her losses in this District. Likewise, many other Class members purchased the
20   Products in this district.
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                                        CLASS ACTION COMPLAINT - 9
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 10 of 36 Page ID #:10




 1           34. Venue is proper pursuant to 28 U.S.C. § 1391(c)(2) because Defendant is
 2    deemed a resident of this District by virtue of this Court’s personal jurisdiction over
 3    Defendant with respect to this civil action.
 4                         ADDITIONAL FACTUAL ALLEGATIONS
 5           Marketing & Sales of the Products
 6           35. OxiClean is manufactured, marketed, distributed, and sold by C&D.
 7           36. OxiClean powdered stain removers are designed to remove stains from
 8    clothing and are promoted by C&D through marketing, advertising, and product labeling
 9    as fit for that purpose.
10           37. OxiClean is sold “through a broad distribution platform that includes
11    supermarkets, mass merchandisers, wholesale clubs, drugstores, convenience stores,
12    home stores, dollar, pet and other specialty stores and websites and other e-commerce
13    channels, all of which sell the products to consumers.”6
14           38. C&D’s “growth” as a company is “driven by 11 power brands,” including
15    OxiClean—the “#1 Laundry Additive Brand.”7
16           39. C&D’s “power brands” account for more than 80% of C&Ds revenues and
17    profits, with revenues having exceeded $4 billion in 2018.8
18           40. C&D’s laundry products—including OxiClean stain removers—constitute its
19    “largest consumer business, measured by net sales.”9
20           41. C&D’s line of OxiClean powdered stain removers includes several styles, all
21    of which are substantially similar in purpose and function, and all of which contain
22    substantively identical claims and instructions on their packages.
23           42. The OxiClean line of stain removers includes at least the following:10
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25    6
        C&D Annual Report, Appx. (10-K) at 30.
      7
26      C&D 2018 Annual Report at 1.
      8
        C&D 2018 Annual Report at 3.
27
      9
        C&D Annual Report, Appx. (10-K) at 2.
28    10
         Also see the Appendix which includes sample images of the Products. Images were obtained
      by visiting https://www.oxiclean.com/en/Where-To-Buy, clicking on each stain remover product



                                       CLASS ACTION COMPLAINT - 10
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 11 of 36 Page ID #:11




 1
                         Style/Sub-Brand                                 Available Sizes
 2
            (a) OxiClean Versatile Stain Remover                 1.77 lb./28.32 oz. (“38
 3                                                                loads”)
 4                                                               3 lb./48 oz. (“65 loads”)
                                                                 5 lb./80 oz. (“108 loads”)
 5
                                                                 7.22 lb./115.52 oz. (“156
 6                                                                loads”)
 7                                                               10.1 lb./161.6 oz. (“252
                                                                  loads”)
 8

 9          (b) OxiClean Versatile Stain Remover                 3 lb./48 oz. (“65 loads”)
10
            “Free”                                               3.5 lb./56 oz. (“75 loads” and
                                                                  “15% more loads”)
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14          (c) OxiClean with Odor Blasters Versatile            3 lb.48 oz. (“57 loads”)
15          Stain &      Odor Remover                            5 lb./115.52 oz. (“95 loads”)
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            (d) OxiClean White Revive Laundry                    3 lb./48 oz. (“45 loads”)
20          Whitener + Stain Remover                             5 lb./80 oz. (“75 loads”)
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            (e) OxiClean Baby Stain Remover                      3 lb./48 oz. (“65 loads”)
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      and following the links provided for each product, e.g., to Jet.com or other such sites (6/20/19).



                                          CLASS ACTION COMPLAINT - 11
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 12 of 36 Page ID #:12




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 4             43. C&D produces and sells millions of units of the subject OxiClean Products in
 5    the United States each year.
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               44. C&D placed the Products in the stream of commerce and distributed, offered
 7
      for sale, and sold the Products to consumers including Plaintiff and Class members in
 8
      California and throughout the United States.
 9
               45. C&D researched, developed, designed, manufactured, marketed, advertised,
10
      sold, and warranted the Products.
11

12
               46. As noted above, C&D’s website www.oxiclean.com/en includes a “Where to
13    Buy” feature that directs consumers to online retailers like amazon.com and jet.com as
14    well as brick-and-mortar retailers like Target and Wal-Mart.
15             47. OxiClean advertising—including advertising on C&D’s website
16    www.oxiclean. com/en—claims “OxiClean gets the tough stains out!”
17
               48. Similarly, C&D airs video advertisements on television and on the internet,
18
      including in social media, as exemplified by the still-shots below from OxiClean’s
19
      “official” Facebook page, depicting filthy football uniforms and announcing: “OxiClean.
20
      It gets the tough stains out!”11
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           https://www.facebook.com/pg/OxiClean/videos/?ref=page_internal



                                         CLASS ACTION COMPLAINT - 12
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 13 of 36 Page ID #:13




 1          49. C&D has published many similar ads, all of which—naturally enough—focus
 2    on OxiClean’s stain–removing benefits and many of which prominently display the
 3    number of loads consumers may expect to treat, as exemplified by the video
 4    advertisement below, which is accompanied by the claim: “Back-to-school stains are
 5    dismissed with OxiClean. Learn to remove ink stains in the video below.”12
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        https://www.facebook.com/OxiClean/videos/vb.211572328868863/1467833533
      242730/?type=2&theater.



                                     CLASS ACTION COMPLAINT - 13
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 14 of 36 Page ID #:14




 1          50. But as seen above, if a consumer is to remove even “typical stains” with this
 2    self-named, so-called stain remover from clothes, then the consumer can treat only a
 3
      fraction of the number of loads prominently claimed on the front of the Product package.
 4
            51. C&D’s representations lead reasonable consumers to believe that a container
 5
      of OxiClean stain remover will remove stains from the advertised number of loads and
 6
      reasonable consumers would not expect to find a statement in fine print that reneges on
 7
      the “number of loads” claim made prominently on the front of the container.
 8

 9
            52. But indeed the disclaimer buried in fine print and indeed it reneges on the
10    “number of loads” claim—the container won’t treat “typical stains” for the advertised
11    number of loads and to remove “tough stains,” one may only be able to treat 1/3 or 1/4 of
12    the claimed number of loads.
13          53. The sub-brands of OxiClean stain removers are substantially similar products
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      with virtually identical disclaimers that are consistently presented in tiny print on the side
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      panels of the Products, as seen in the images appended to this complaint, one of which is
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      reproduced below as an example.
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                                        CLASS ACTION COMPLAINT - 14
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 15 of 36 Page ID #:15




 1          Plaintiff’s Purchase & Economic Injury
 2          54. Plaintiff Shelley Pridgen purchased OxiClean Versatile Stain Remover (“65
 3    loads”) in or about May of 2019 at a Target store in Santa Ana, California.
 4          55. Plaintiff has seen OxiClean advertising in the past and is familiar with the
 5    Defendant’s claims regarding OxiClean’s stain-removing benefits.
 6          56. In purchasing the Product, Plaintiff reasonably relied upon the “number of
 7    loads” claim on the front of the package and reasonably believed the Product would treat
 8    65 loads, as claimed.
 9          57. Plaintiff followed the instructions for use and, accordingly, was unable to treat
10    the number of loads Defendant claimed the Product would treat. Instead, the Product
11    treated a fraction of that represented on the front of the packaging.
12          58. C&D intended for consumers to rely upon its representations concerning the
13    number of loads a container would treat.
14          59. It would be reasonable for consumers to rely upon C&D’s representations
15    concerning the number of loads a container would treat—as Plaintiff did—and to
16    believe—as Plaintiff did—that a stain remover claiming it is capable of providing stain-
17    removing treatment for, e.g., 65 loads of laundry, would in fact be capable of providing
18    stain-removing treatment for 65 loads of laundry.
19          60. C&D’s representations concerning the number of loads a container would treat
20    were made with the intent to generate and increase sales of the Products.
21          61. C&D’s representations concerning the number of loads a container would treat
22    were deceptive and misleading for the reasons set forth throughout this Complaint.
23          62. By representing the number of loads each Product purportedly would treat,
24    C&D implicitly represented the Product’s value to Plaintiff and other consumers.
25          63. That representation was false, however, because, based on C&D’s instructions,
26    the Products were effectively under-filled, such that Plaintiff and other consumers
27    received a Product of different and substantially lesser value—one with a higher effective
28    cost—than C&D represented.




                                       CLASS ACTION COMPLAINT - 15
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 16 of 36 Page ID #:16




 1           64. Accordingly, Plaintiff and the Class did not realize the benefit of the bargain
 2    and their expectations were not met.
 3           65. In addition, Plaintiff and the Class paid substantially more than the market
 4    value represented by the price bargained for. Plaintiff and the Class bargained with C&D
 5    on a particular market value for a certain number of loads per container. But because
 6    C&D only delivered a portion of those loads, Plaintiff and the class paid a price-per-load
 7    that was significantly higher than reflected in the market price to which they and C&D
 8    had agreed, and received a number of loads that was significantly lower than C&D
 9    promised.
10           66. For these reasons, the Products are worth less than Plaintiff and the Class paid
11    for them.
12           67. Thus, through the use of misleading representations as to the number of loads
13    the Products would treat—and thereby the Products’ value—C&D obtained enhanced
14    negotiating leverage allowing it to command a price Plaintiff and the Class would not
15    have paid had they been fully informed.
16           68. The cost of the Products would have been lower absent Defendant’s false and
17    misleading representations.
18           69. Absent the false and misleading representations, Plaintiff and the Class would
19    only have been willing to pay less for the Products.
20           70. By use of its misleading marketing and labeling, C&D created increased
21    market demand for the Products and increased its market share relative to what its
22    demand and share would have been had C&D marketed and labeled the Products
23    truthfully.
24           71. Plaintiff and the Class lost money as a result of C&D’s misrepresentations in
25    that they did not receive what they reasonably believed they were paying for based upon
26    the misrepresentations while Defendant realized a commensurate unearned gain because
27    it did not deliver to Plaintiff and the Class what it led them to believe they would receive.
28           72. Plaintiff and the Class detrimentally altered their position and suffered




                                        CLASS ACTION COMPLAINT - 16
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 17 of 36 Page ID #:17




 1    damages in an amount of the under-filled portion of their OxiClean purchases.
 2                               CLASS ACTION ALLEGATIONS
 3          73. Pursuant to Fed. R. Civ. P. 23, Plaintiff brings this action on behalf of a
 4    proposed class and subclass defined as follows:
 5          The National Class. All persons in the United States who purchased any OxiClean
 6          powdered stain remover whose label stated that the product would treat a specified
 7          number of loads, which purchases were for personal use and not for resale or
 8          distribution.
 9

10          The California Subclass. All persons in the State of California who purchased any
11          OxiClean powdered stain remover whose label stated that the product would treat a
12          specified number of loads, which purchases were for personal use and not for
13          resale or distribution.
14          Excluded from the National Class and California Subclass are: (a) Defendant,
15    Defendant’s board members, executive-level officers, and attorneys, and immediately
16    family members of any of the foregoing persons; (b) governmental entities; (c) the Court,
17    the Court’s immediate family, and the Court staff; and (d) any person who timely and
18    properly excludes himself or herself from the Class.
19          74. Plaintiff reserves the right to alter the Class and Subclass definitions as
20    necessary at any time to the full extent permitted by applicable law.
21          75. Certification of Plaintiff’s claims for class-wide treatment is appropriate
22    because Plaintiff can prove the elements of the claims on a class-wide basis using the
23    same evidence as individual Class and Subclass members would use to prove those
24    elements in individual actions alleging the same claims.
25          76. For convenience and simplicity, Plaintiff refers to the National Class and the
26    California Subclass collectively as “the Class” or “Class members,” except where they
27    are expressly distinguished.
28          77. Numerosity – Rule 23(a)(1): The size of the Class is so large that joinder of




                                       CLASS ACTION COMPLAINT - 17
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 18 of 36 Page ID #:18




 1    all Class members is impracticable. C&D claims that the Products are America’s #1
 2    laundry additives and C&D has reported to the SEC that the Products are one of its 11
 3    “power brands,” which account for 80% of C&D’s revenues.
 4          78. There are hundreds of thousands, if not millions, of Class members
 5    geographically dispersed throughout the United States.
 6          79. Existence and Predominance of Common Questions of Law and Fact –
 7    Rule 23(a)(2), (b)(3): There are questions of law and fact common to the Class. These
 8    questions predominate over any questions that affect only individual Class members.
 9    Common legal and factual questions/issues include but are not limited to:
10          a. what representations Defendant has made regarding the Products over time;
11          b. whether, when the Products are used according to Defendant’s instructions,
12               they treat the advertised/stated number of loads;
13          c. whether reasonable consumers would deem material Defendant’s
14               advertised/stated number of loads;
15          d. whether Defendant intended for Plaintiff, the Class members, and others to rely
16               upon Defendant’s representations in purchasing and using the Products;
17          e. whether Defendant foresaw that purchasers would rely upon Defendant’s
18               representations in purchasing and using the Products;
19          f.   whether reasonable consumers believe the Products will remove stains for the
20               advertised/stated number of loads;
21          g. whether Defendant knew or should have known its representations were
22               misleading in light of all the facts and circumstances;
23          h. whether the Products were warranted;
24          i.   whether Defendant properly disclaimed any warranty;
25          j.   whether any limitation on warranty fails to meet its essential purpose;
26          k. whether Defendant’s conduct violates public policy;
27          l.   the proper calculation and amount of damages;
28          m. the proper amount of restitution;




                                       CLASS ACTION COMPLAINT - 18
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 19 of 36 Page ID #:19




 1           n. the proper scope of injunctive relief;
 2           o. the proper amount of attorneys’ fees.
 3           80. Defendant engaged in a common course of conduct in contravention of the
 4    laws Plaintiff seeks to enforce individually and on behalf of the Class members. Similar
 5    or identical violations of law, business practices, and injuries are involved. Individual
 6    questions, if any, pale by comparison, in both quality and quantity, to the numerous
 7    common questions that predominate this action. The common questions will yield
 8    common answers that will substantially advance the resolution of the case.
 9           81. In short, these common questions of fact and law predominate over questions
10    that affect only individual Class members.
11           82. Typicality – Rule 23(a)(3): Plaintiff’s claims are typical of the claims of the
12    Class members because they are based on the same underlying facts, events and
13    circumstances relating to C&D’s conduct. Specifically, all Class members, including
14    Plaintiff, were harmed in the same way due to Defendant’s uniform misconduct described
15    herein; all Class members suffered injury due to Defendant’s misrepresentations; and
16    Plaintiff seeks the same relief as the Class members.
17           83. There are no defenses available to Defendant that are unique to the named
18    Plaintiff.
19           84. Adequacy of Representation – Rule 23(a)(4): Plaintiff is a fair and adequate
20    representative of the Class because Plaintiff’s interests do not conflict with the Class
21    members’ interests. Plaintiff will prosecute this action vigorously and is highly motivated
22    to seek redress against Defendant.
23           85. Furthermore, Plaintiff has selected competent counsel who are experienced in
24    class action and other complex litigation. Plaintiff and Plaintiff’s counsel are committed
25    to prosecuting this action vigorously on behalf of the Class and have the resources to do
26    so.
27           86. Superiority – Rule 23(b)(3): The class action mechanism is superior to other
28    available means for the fair and efficient adjudication of this controversy for at least the




                                        CLASS ACTION COMPLAINT - 19
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 20 of 36 Page ID #:20




 1    following reasons:
 2          a. the damages individual Class members suffered are small compared to the
 3              burden and expense of individual prosecution of the complex and extensive
 4              litigation needed to address Defendant’s conduct;
 5          b. it would thus be virtually impossible for individual Class members to redress
 6              the wrongs done to them and they would have little incentive to do so;
 7          c. the class action procedure presents fewer management difficulties than
 8              individual litigation and provides the benefits of single adjudication,
 9              economies of scale, and comprehensive supervision by a single court;
10          d. the prosecution of separate actions by individual Class members would create a
11              risk of inconsistent or varying adjudications, which would establish
12              incompatible standards of conduct for Defendant;
13          e. were Class members to bring individual actions, the prosecution of those
14              actions would create a risk of adjudications that could prove dispositive of the
15              interests of other Class members not parties to the adjudications or that would
16              substantively impair or impede their ability to protect their interests.
17          87. C&D has acted on grounds applicable to the Class as a whole, thereby making
18    appropriate final injunctive and declaratory relief concerning the Class as a whole.
19          88. Notice: Plaintiff and Plaintiff’s counsel anticipate that notice to the proposed
20    Class will be effectuated through recognized, Court-approved notice dissemination
21    methods, which may include United States mail, electronic mail, Internet postings, and/or
22    published notice.
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                                       CLASS ACTION COMPLAINT - 20
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 21 of 36 Page ID #:21




 1                                   CLAIMS FOR RELIEF
 2           COUNT I: Violations of California’s Consumers Legal Remedies Act
 3           (Cal. Civil Code § 1750, et seq.) on Behalf of the California Subclass
                                   (Injunctive Relief Only)
 4

 5
            89. The CLRA prohibits deceptive practices by any business that provides goods,

 6
      property, or services primarily for personal, family, or household purposes.

 7
            90. Plaintiff and the Subclass members are “consumers” as defined in California

 8
      Civil Code § 1761(d).

 9
            91. The Products are “goods” as defined in California Civil Code § 1761(a).

10
            92. Defendant is a “person” as defined in California Civil Code § 1761(c).

11
            93. Plaintiff’s and the Subclass members’ purchases of the Products are

12
      “transactions” as defined in California Civil Code § 1761(e).

13
            94. Defendant’s representations and omissions concerning the quality, benefits and

14
      effectiveness of the Products were false and/or misleading as alleged herein.

15
            95. Defendant’s false or misleading representations and omissions were made to

16
      the entire Subclass and were such that a reasonable consumer would attach importance to

17
      them in determining his or her purchasing decision.

18
            96. Defendant knew or should have known its representations and omissions were

19
      material and were likely to mislead consumers, including Plaintiff and the Subclass.

20
            97. Defendant’s practices, acts, and course of conduct in marketing and selling

21
      the Products were and are likely to mislead reasonable consumers acting reasonably

22
      under the circumstances to their detriment and in fact consumers were misled.

23
            98. Defendant’s false and misleading representations and omissions were designed

24
      to, and did, induce the purchase and use of the Products for personal, family, or

25
      household purposes by Plaintiff and Subclass members, which violated and continues to

26
      violate the following sections of the CLRA:

27
            a.    § 1770(a)(5): representing that goods have characteristics, uses, benefits, or

28
                  quantities that they do not have;




                                       CLASS ACTION COMPLAINT - 21
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 22 of 36 Page ID #:22




 1          b.    § 1770(a)(7): representing that goods are of a particular standard, quality, or
 2                 grade if they are of another;
 3          c.    § 1770(a)(9): advertising goods with intent not to sell them as advertised; and
 4          d.    § 1770(a)(16): representing the subject of a transaction has been supplied in
 5                accordance with a previous representation when it was not.
 6          99. Defendant profited from the sale to unwary customers of the falsely,
 7    deceptively, and unlawfully advertised and labeled Products.
 8          100. Defendant’s wrongful business practices constituted, and constitute, a
 9    continuing course of conduct in violation of the CLRA.
10          101. Defendant’s wrongful business practices were a direct and proximate cause
11    of actual harm to Plaintiff and to each Subclass member.
12          102. Plaintiff sent notice to Defendant pursuant to Cal. Civ. Code § 1782(a), but
13    the 30-day response period has not elapsed; thus Plaintiff seeks no damages pursuant to
14    this Count, but will amend this Complaint at the appropriate time to claim damages.
15          103. Pursuant to California Civil Code § 1780, Plaintiff seeks injunctive relief—
16    including injunctive relief requiring Defendant to cease and desist from further
17    misrepresenting the Products as described herein—reasonable attorney’s fees and costs,
18    and any further injunctive or equitable relief the Court deems proper.
19
                COUNT II: Violations of California’s False Advertising Law
20      (Cal. Bus. & Prof. Code §§ 17500, et seq.) on Behalf of the California Subclass
21          104. The FAL provides that “[i]t is unlawful for any person, firm, corporation or
22    association, or any employee thereof with intent directly or indirectly to dispose of real or
23    personal property or to perform services” to disseminate any statement “which is untrue
24    or misleading, and which is known, or which by the exercise of reasonable care should be
25    known, to be untrue or misleading.” Cal. Bus. & Prof. Code § 17500.
26          105. It also is unlawful under the FAL to make or disseminate any advertisement
27    that is “untrue or misleading, and which is known, or which by the exercise of reasonable
28    care should be known, to be untrue or misleading.” Id.




                                       CLASS ACTION COMPLAINT - 22
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 23 of 36 Page ID #:23




 1          106. As alleged herein, Defendant’s advertisements, labeling, policies, acts, and
 2    practices relating to the Products were and are deceptive and misleading.
 3          107. As alleged herein, Defendant’s advertisements, labeling, policies, acts, and
 4    practices misled consumers acting reasonably—including Plaintiff and the Subclass
 5    members—about the quality, benefits, and effectiveness of the Products, including
 6    Plaintiff and the Subclass members.
 7          108. Plaintiff and the Subclass members suffered injury-in-fact as a result of
 8    Defendant’s actions as set forth herein because, as reasonable consumers, they purchased
 9    the Products in reliance on Defendant’s false and misleading labeling claims concerning
10    the Products’ quality, benefits, and effectiveness.
11          109. Defendant’s business practices as alleged herein constitute deceptive, untrue,
12    and misleading advertising pursuant to the FAL because Defendant has advertised the
13    Products in a manner that is untrue and misleading, which Defendant knew or reasonably
14    should have known, and because Defendant omitted material information from its
15    advertising and labeling.
16          110. Defendant profited from sale of the falsely and deceptively advertised
17    Products to reasonable but unwary consumers including Plaintiff and the Subclass
18    members and Defendant has thereby been unjustly enriched.
19          111. As a result, Plaintiff, the Subclass, and the general public are entitled to
20    injunctive and equitable relief, restitution, and an order for the disgorgement of the funds
21    by which Defendant was unjustly enriched.
22          112. Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff, on behalf of herself
23    and the Subclass, seeks an order enjoining Defendant from continuing to engage in
24    deceptive business practices, false advertising, and any other act prohibited by law,
25    including those set forth in this Complaint as well as any further injunctive or equitable
26    relief the Court deems proper.
27

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                                       CLASS ACTION COMPLAINT - 23
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 24 of 36 Page ID #:24




 1
               COUNT III: Violations of California’s Unfair Competition Law
        (Cal. Bus. & Prof. Code §§ 17200, et seq.) on Behalf of the California Subclass
 2
            113. The UCL prohibits any “unlawful, unfair or fraudulent business act or
 3
      practice.” Cal. Bus. & Prof. Code § 17200.
 4
            114. Defendant’s acts, omissions, misrepresentations, practices, and non-
 5
      disclosures as alleged herein constitute business acts and practices.
 6
            115. Defendant’s acts, omissions, misrepresentations, practices and non-
 7
      disclosures as alleged herein constitute unlawful, unfair, and fraudulent business practices
 8
      in that they have the capacity to deceive reasonable consumers, including Plaintiff and
 9
      the Subclass, as to the benefits and effectiveness of the Products.
10
            116. Unlawful: The acts alleged herein are “unlawful” under the UCL in that they
11
      violate at least (a) the False Advertising Law, Cal. Bus. & Prof. Code § 17500, et seq.; (b)
12
      and the Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq.
13
            117. Unfair: The acts alleged herein are “unfair” because Defendant’s conduct
14
      was immoral, unethical, unscrupulous, or substantially injurious to consumers and the
15
      utility of its conduct, if any, does not outweigh the gravity of the harm to their victims,
16
      including Plaintiff and the Subclass.
17
            118. The acts alleged herein also are unfair because they violate public policy as
18
      declared by specific constitutional, statutory or regulatory provisions, including but not
19
      limited to the applicable sections of the False Advertising Law and Consumers Legal
20
      Remedies Act.
21
            119. The acts alleged herein are unfair because the consumer injury was
22
      substantial, was not outweighed by benefits to consumers or competition, and was not
23
      one consumers could reasonably have avoided.
24
            120. Reasonable consumers, including Plaintiff and the Subclass members,
25
      purchased the Products believing they were beneficial and effective as claimed by
26
      Defendant when in fact they were not—a fact of which consumers could not reasonably
27
      have become aware.
28
            121. Fraudulent: A statement or practice is “fraudulent” under the UCL if it is



                                        CLASS ACTION COMPLAINT - 24
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 25 of 36 Page ID #:25




 1    likely to mislead or deceive the public, applying an objective reasonable consumer test.
 2          122. The acts alleged herein, including Defendant’s representations and omissions
 3    about the quality, benefits, and effectiveness of the Products, are false and likely to
 4    mislead or deceive the public because a significant portion of the general consuming
 5    public, acting reasonably in the circumstances, could be misled by Defendant’s
 6    representations and omissions.
 7          123. Defendant profited from its sale of the falsely, deceptively, and unlawfully
 8    advertised and labeled/packaged Products to unwary consumers.
 9          124. Defendant’s conduct directly and proximately caused and continues to cause
10    substantial injury to Plaintiff and the Subclass members.
11          125. Plaintiff and the Subclass have suffered injury-in-fact as a result of
12    Defendant’s unlawful conduct including but not limited to the damages described above.
13          126. Plaintiff and the Subclass members are likely to continue to be damaged by
14    Defendant’s deceptive trade practices, because Defendant continues to disseminate
15    misleading information on the Products’ packaging and through the marketing and
16    advertising of the Products. Thus, injunctive relief enjoining Defendant’s deceptive
17    practices is appropriate.
18          127. In accordance with Bus. & Prof. Code § 17203, Plaintiff seeks an order
19    enjoining Defendant from continuing to conduct business through unlawful, unfair,
20    and/or fraudulent acts and practices, and to commence a corrective advertising campaign.
21          128. Plaintiff and the Subclass seek an order for and restitution of all monies from
22    the sale of the Products, which were unjustly acquired through unlawful competition.
23              COUNT IV: Breach of the Implied Warranty of Merchantability
24
          (Cal. Civil Code §§ 1791–1792 & 1794) on Behalf of the California Subclass

25          129. California Civil Code § 1792 provides that, unless properly disclaimed, every
26    sale of consumer goods is accompanied by an implied warranty of merchantability.
27          130. The Products are “consumer goods” within the meaning of California Civil
28    Code § 1791 as they are bought for use primarily for personal, family, or household




                                        CLASS ACTION COMPLAINT - 25
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 26 of 36 Page ID #:26




 1    purposes.
 2          131. Plaintiff and the Subclass members are “buyers” of the Products within the
 3    meaning of California Civil Code § 1791(b).
 4          132. Defendant is the “manufacturer” of the Products within the meaning of
 5    California Civil Code § 1791(j).
 6          133. Defendant failed to comply with the obligations of California Civil Code §§
 7    1791-1792 and thereby caused damage to Plaintiff and the Subclass.
 8          134. Specifically, Defendant manufactured, tested, advertised, promoted,
 9    marketed, sold, and distributed the Products.
10          135. At the time Defendant manufactured, tested, advertised, promoted, marketed,
11    sold, and distributed the Products, Defendant knew of the particular purposes for which
12    the Products were intended and impliedly warranted the Products to be of merchantable
13    quality.
14          136. Defendant breached the implied warranty of merchantability and the Products
15    were not of merchantable quality because: (a) the Products were mislabeled; (b) the
16    Products lacked a minimum level of quality that reasonable consumers would expect; (c)
17    the Products would not pass without objection in the trade; (d) the Products were not fit
18    for ordinary purposes for which such goods are used insofar as they would not adequately
19    treat the number of loads claimed; (e) for the same reason, the Products did not conform
20    to the promises or affirmations of fact made on the container and/or label; and (f) the
21    Products did not have the quality that reasonable buyers, including Plaintiff and the
22    Subclass members, would expect.
23          137. Defendant did not at any time properly disclaim the implied warranty of
24    merchantability.
25          138. Plaintiff and the Subclass members were damaged by Defendant’s failure to
26    comply with its statutory obligations and under the implied warranty of merchantability
27    and, therefore, Plaintiff and the Subclass members are entitled to recover damages,
28    including but not limited to those described above; and they are entitled to other legal and




                                         CLASS ACTION COMPLAINT - 26
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 27 of 36 Page ID #:27




 1    equitable relief.
 2             139. More specifically, Defendant’s breach of the warranty caused Plaintiff and
 3    the Subclass economic harm for which Plaintiff and the Subclass members are entitled to
 4    monetary damages, costs, reasonable attorney’s fees, and appropriate equitable relief
 5    including injunctive relief requiring Defendant to cease and desist from further
 6    misrepresenting the Products as described herein and any further injunctive or equitable
 7    relief the Court deems proper.
 8
                 COUNT V: Violation of Various State Consumer Protection Laws
 9                                   On Behalf of the National Class
10
               140. Plaintiff brings this claim for deceptive acts and practices in violation of

11
      various states’ consumer protection statutes against Defendant on behalf of the National

12
      Class.

13
               141. Defendant has engaged in deceptive acts and unfair practices that have

14
      caused actual damages to Plaintiff and the National Class, as described herein, including

15
      the misrepresentations and omissions described with respect to the marketing,

16
      advertising, promotion, packaging, labeling, and sale of the Products.

17
               142. Defendant’s deceptive and unfair trade practices have been carried out in the

18
      course of conducting Defendant’s business, trade, and commerce

19
               143. Defendant’s acts—including its intentional efforts to mislead consumers

20
      regarding the benefits and effectiveness of the Products—are willful, unfair,

21
      unconscionable, deceptive, contrary to public policy, and injurious to consumers.

22
               144. Defendant’s false, deceptive, and misleading statements and omissions would

23
      be material to any reasonable consumer’s decision whether to buy the Products.

24
               145. Any objectively reasonable consumer acting reasonably in the circumstances

25
      would have been deceived by Defendant’s acts and practices.

26
               146. Defendant’s acts are unconscionable and actuated by bad faith, lack of fair

27
      dealing, actual malice, are accompanied by a wanton and willful disregard for consumers’

28
      well-being, and are motivated solely by the desire for financial gain.




                                          CLASS ACTION COMPLAINT - 27
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 28 of 36 Page ID #:28




 1          147. As a direct and proximate result of Defendant’s deceptive practices, Plaintiff
 2    and the National Class have sustained actual damages including but not limited to those
 3    described above.
 4          148. Plaintiff and the National Class demand damages, attorney’s fees and costs,
 5    and any other equitable or legal relief to which they may be entitled.
 6          149. Plaintiff’s claims are representative of similar claims available to National
 7    Class members under the laws of other states, which also are amenable to further subclass
 8    treatment, particularly where the counterpart laws require no showing of reliance or
 9    employ an objective reliance standard. Such laws may include, but are not limited to: Ala.
10    Code §§ 8-19-1 et seq.; Alaska Stat. § 45.50.471; Ariz. Rev. Stat. Ann. §§ 44-1521 et
11    seq.; Ark. Code Ann. § 4-8-01, et seq.; Cal. Civil Code §§ 1750 et seq. and Cal. Bus. &
12    Prof. Code §§ 17200 et seq.; Colo. Rev. Stat. §§ 6-1-05 et seq.; Conn. Gen. Stat. Ann. §§
13    42-110a et seq.; Del. Code Ann. Tit. 6 §§ 2511 et seq. & 2531 et seq.; D.C. Code Ann. §§
14    28-3901 et seq.; Fla. Stat. §§ 501.201 et seq.; Ga. Code Ann. §§ 10-1-372 and 10-1-420;
15    Haw. Rev. Stat. §§ 480-1 et seq.; Idaho Code §§ 48-601 et seq.; 815 Ill. Comp. Stat.
16    505/1 et seq.; Ind. Code Ann. 24-5-0.5-3; Iowa Code § 714.16; Kan. Stat. Ann. §§ 50-623
17    et seq.; Ky. Rev. Stat. Ann. § 367.170; La. R.S. §§ 1401 et seq.; Me. Rev. Stat. Ann tit. 5,
18    §§ 205-A et seq.; Md. Code Ann., Com. Law §§ 13-301 et seq.; Mass. Gen. Laws ch.
19    93A, §§ 1 et seq.; Mich. Comp. Laws Ann. §§ 445.901 et seq.; Minn. Stat. §§ 325D.44 et
20    seq.; Miss. Code Ann. §§ 75-24-1 et seq.; Mo. Ann. Stat. §§ 407.010 et seq.; Mont. Code
21    Ann. §§ 30-14-101 et seq.; Neb. Rev. Stat. Ann. §§ 59-1601 et seq.; Nev. Rev. Stat. Ann.
22    §§ 598.0903 et seq.; N.H. Rev. Stat. Ann. §§ 358-A:1 et seq.; N.J. Stat. Ann. §§ 56:8-1 et
23    seq.; N.M. Stat. Ann. §§ 57-12-1 et seq.; N.C. Gen. Stat. §§ 75-1 et seq.; N.D. Cent. Code
24    §§ 51-12-01 et seq. and 51-15-01 et seq.; Ohio Rev. Code Ann. §§ 1345.01 et seq.; Okla.
25    Stat. Ann. Tit. 15, §§ 751 et seq.; Or. Rev. Stat. §§ 646.605 et seq.; 73 Pa. Cons. Stat. §§
26    201-1 et seq.; R.I. Gen. Laws §§ 6-13.1-1 et seq.; S.C. Code Ann. §§ 39-5-10 et seq.;
27    S.D. Codified Laws §§ 37-24-1 et seq.; Tenn. Code Ann. § 47-18-109(a)(1); Tex. Bus. &
28    Com. Code Ann. §§ 17.41 et seq.; Utah Code Ann. §§ 13-11-1 et seq.; Vt. Stat. Ann. Tit.




                                       CLASS ACTION COMPLAINT - 28
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 29 of 36 Page ID #:29




 1    9, §§ 2453 et seq.; Va. Code Ann. §§ 59.1-196 et seq.; Wash Rev. Code Ann. §§
 2    19.86.010 et seq.; W. Va. Code 46A-6-101 et seq.; Wis. Stat. Ann. § 100.18; and Wyo.
 3    Stat. Ann. §§ 40-12-101 et seq.
 4                              COUNT VI: Unjust Enrichment
 5
                      On Behalf of the National Class & California Subclass

 6          150. By way of its wrongful acts and omissions, Defendant charged, and Plaintiff
 7    and the Class and Subclass members paid, a higher price for the Products than that which
 8    reflects their true value and Defendant accordingly obtained monies that rightfully belong
 9    to Plaintiff and the Class and Subclass members, including but not limited to monies
10    obtained as described in ¶¶ 65-75.
11          151. Plaintiff and the Class and Subclass members conferred a benefit on
12    Defendant by purchasing the Products.
13          152. Defendant received a direct benefit from Plaintiff and the Class and Subclass
14    members in the form of Product sales, increased market share for the Products, and
15    resulting profits.
16          153. Defendant knowingly accepted the unjust benefits of its fraudulent conduct,
17    including the gains described in the preceding paragraph and above of this Complaint, to
18    the detriment of Plaintiff and the Class and Subclass members. It would be inequitable
19    and unjust for Defendant to retain these wrongfully obtained gains and benefits.
20          154. Accordingly, Plaintiff, on behalf of herself and the Class and Subclass, seeks
21    an order requiring Defendant to disgorge all unwarranted profits and to make restitution
22    to Plaintiff and the Class.
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                                        CLASS ACTION COMPLAINT - 29
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 30 of 36 Page ID #:30




 1                                     PRAYER FOR RELIEF
 2            WHEREFORE, Plaintiff, individually and on behalf of the members of the Class
 3    and Subclass, respectively, respectfully request the Court to enter an Order or Orders that:
 4            A. certify the proposed National Class and California Subclass under Federal Rule
 5    of Civil Procedure 23(a) and (b)(3), as set forth above, naming Plaintiff as Class and
 6    Subclass representative and appointing Plaintiff’s counsel as Class and Subclass counsel;
 7            B. declare that Defendant is financially responsible for notifying the Class
 8    members of the pendency of this action;
 9            C. award monetary damages including but not limited to any compensatory,
10    incidental, consequential and/or punitive damages in an amount that the Court or jury will
11    determine, in accordance with applicable law and in accordance with the above
12    allegations;
13            D. provide for restitution and disgorgement;
14            E. enjoin Defendant from further misrepresentations or material omissions in their
15    marketing, advertising, packages, packaging, labels, and labeling for the Products while
16    requiring Defendant to commence with a corrective advertising campaign and provide
17    any further injunctive, declaratory, or equitable relief the Court deems appropriate;
18            E. award Plaintiff’s reasonable costs and expenses of suit, including attorney’s
19    fees;
20            G. award pre- and post-judgment interest to the extent the allowed in law or in
21    equity; and
22            H. provide such further relief in law or equity as this Court may deem just and
23    proper.
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                                        CLASS ACTION COMPLAINT - 30
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 31 of 36 Page ID #:31




 1                                 DEMAND FOR JURY TRIAL
 2          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
 3    demands a trial by jury on all claims so triable.
 4          Dated this 3d day of September, 2019.
 5

 6                                              REESE LLP
 7                                              /s/ Michael R. Reese
                                                Michael Reese
 8                                              mreese@reesellp.com
 9
                                                Sue J. Nam
                                                snam@reesellp.com
10                                              100 West 93rd Street, 16th Floor
                                                New York, New York 10025
11                                              Telephone: (212) 643-0500
                                                Facsimile: (212) 253-4272
12

13
                                                REESE LLP
                                                George V. Granade II
14                                              ggranade@reesellp.com
                                                8484 Wiltshire Blvd, Suite 515
15                                              Los Angeles, California 90211
                                                Tel: (212) 643-0500
16

17
                                                LEVIN, PAPANTONIO, THOMAS,
                                                MITCHELL, RAFFERTY & PROCTOR,
18                                              P.A.
                                                Matthew D. Schultz (PHV forthcoming)
19                                              mschultz@levinlaw.com
                                                Brenton Goodman (PHV forthcoming)
20                                              bgoodman@levinlaw.com
21
                                                316 S. Baylen St., Suite 600
                                                Pensacola, Florida 32502
22                                              Tel: (850) 435-7140
                                                Fax: (850) 436-6140
23

24                                              Counsel for Plaintiff & the Proposed Class &
                                                Subclass
25

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                                       CLASS ACTION COMPLAINT - 31
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 32 of 36 Page ID #:32




 1
          APPENDIX: IMAGES OF OXICLEAN STAIN REMOVER PRODUCTS
                      (Red box superimposed over disclaimer.)
 2

 3    (a) OxiClean Versatile Stain Remover
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                                    CLASS ACTION COMPLAINT - 32
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 33 of 36 Page ID #:33




 1    (b) OxiClean Versatile Stain Remover “Free”
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                                    CLASS ACTION COMPLAINT - 33
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 34 of 36 Page ID #:34




 1    (c) OxiClean Odor Blasters Versatile Stain Remover
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                                    CLASS ACTION COMPLAINT - 34
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 35 of 36 Page ID #:35




 1    (d) OxiClean White Revive Laundry Whitener + Stain Remover
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                                    CLASS ACTION COMPLAINT - 35
     Case 8:19-cv-01683-DOC-JDE Document 1 Filed 09/03/19 Page 36 of 36 Page ID #:36




 1    (e) OxiClean Baby Stain Remover
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                                    CLASS ACTION COMPLAINT - 36
